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                              UNITED STATES DISTRICT COURT
                              SOUTHERN DISTRICT OF FLORIDA

                         CASE NO.: 18-CV-21454-COOKE/GOODMAN

  PEPITO RODRIGUEZ, JR.,

         Plaintiff,

  vs.

  REX AUTO SERVICE CORP and
  OSWALDO J. CARRIZO,

        Defendants.
  ______________________________/

                                  NOTICE OF SETTLEMENT

         Plaintiff, PEPITO RODRIGUEZ, JR., notifies the Court that the parties have settled their

  dispute and are in the process of negotiating and executing the written Settlement Agreement and

  HEREBY CERTIFIES that a true and correct copy of the foregoing was served through filing in

  the U.S. District Court’s CM/EDF System on this 15th day of October, 2018 on Julio Gutierrez,

  Esq., The Law Offices of Julio Gutierrez, P.A., Counsel for Defendants, jgpa@msn.com, 2464

  S.W. 137 Avenue, Miami, Florida 33175 all who appeared in this action.

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